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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:24-CR-3016

vs.
                                                           ORDER
WREN G. CHAMBERLAIN,

                  Defendant.

      Senior District Judge John M. Gerrard is no longer taking criminal cases
and plans to transfer his pending criminal cases to District Judge Susan M.
Bazis. A reassignment deadline of June 17, 2024 has been established.
      On June 17, 2024, if this case has not been set for a change of plea
hearing, it will be reassigned to District Judge Susan M. Bazis.
      If the defendant is prepared to plead guilty, counsel should contact the
Magistrate Judge's chambers on or before June 14, 2024 to set a change of
plea hearing. Cases involving multiple defendants will be reassigned unless all
the defendants have either pled guilty or set a change of plea hearing.
      A change of plea hearing in this case, once set, will not be continued
absent a showing of good cause. If the defendant later elects not to change his
or her plea, moves to withdraw that plea, or does not show good cause for
continuing the change of plea hearing, the case will be reassigned to Judge
Bazis for trial.

      IT IS ORDERED:

      1.    On June 17, 2024, this case will be reassigned to District
            Judge Susan M. Bazis if a change of plea hearing has not
            been scheduled or held.

      2.    The Clerk of the Court is directed to set a case management
            deadline for June 17, 2024, with the following docket text:
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          Reassign to District Judge Susan M. Bazis if change of plea
          hearings have not been scheduled or held.

    Dated this 15th day of April, 2024.

                                          BY THE COURT:


                                          John M. Gerrard
                                          Senior United States District Judge




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